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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

BROIDY CAPITAL MANAGEMENT
LLC, ELLIOTT BROIDY, and ROBIN
ROSENZWEIG,

Plaintiffs,

V.

STATE OF QATAR, STONINGTON
STRATEGIES LLC, NICOLAS D.
MUZIN, and DOES 1- 10,

Defendants.

 

 

Case No. 2:18-CV-02421-JFW-(EX)

DECLARATION OF SAMUEL
MILLER KLEINER IN SUPPORT
OF PLAINTIFFS’ REPLY
MEMORANDUM IN SUPPORT OF
PLAINTIFFS' EX PARTE
APPLICATION FORl
TEMPORARY REST INING
ORDER AGAINST DEFENDANTS;
§,2 ORDER TO SHOW CAUSE FOR

LIMINARY INJUNCTION;
AND 3) ORDER GRANTING
EXPE ITED DISCOVERY

Case No. 2:18-CV-02421

 

DECLARATION OF SAMUEL MILLER KLEINER

 

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DECLARATION OF SAMUEL MILLER KLEINER

I, Samuel Miller Kleiner, hereby declare as follows:

1. I am an associate in the New York City of the law firm of Boies
Schiller Flexner LLP (“BSF”).

2. On April 2, 2018, I prepared documents to serve the State of Qatar in
accordance With the requirements of 28 U.S.C. § 1608(a)(3). The documents
included both Arabic and English copies of Plaintiffs’ complaint, a summons for the
State of Qatar, and a notice of suit prepared in conformance with the relevant
regulations The documents Were accompanied by a certificate of translation and a
copy of the Foreign Sovereign Immunities Act.

3. On April 3, 2018, an associate in BSF’s Los Angeles office informed
me that the documents to serve the State of Qatar had been presented to the Clerk’s
Off1ce in the United States District Court for the Central District of California.

4. On the same day, I confirmed that representation Specifically, I spoke
by telephone With an employee in the office of the Clerk of Court, Eddie Ramirez,
Who confirmed that the package to serve the State of Qatar had been received.

5, Mr. Ramirez further stated that When the package is dispatched to the

State of Qatar, the Clerk’s Office Will make a notation in the docket for this case.

Pursuant to 28 U.S.C. § 1746, l declare under penalty of perjury that the foregoing is

true and correct.

f__._`
Dated: Apr114,2018 H j

Samuel M. Kleiner

_1_ Case No. 2:18-CV-02421
DECLARATION OF SAMUEL KLEINER

 

 

